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                             UNITED STATES DISTRICT COURT
                             WESTERN DISTRICT OF KENTUCKY
                                BOWLING GREEN DIVISION
                             CIVIL ACTION NO. 1:21-CV-133-BJB

                                        Filed Electronically

 ELIZABETH LOY                                                                           PLAINTIFF


 V.                                 JOINT STATUS REPORT


 WESTERN KENTUCKY UNIVERSITY, ET AL                                                  DEFENDANTS


        Plaintiff Elizabeth Loy and Defendants Western Kentucky University and Adam Gary file

 this joint status report to advise the Court that the parties have reached a settlement agreement in

 this matter. The parties therefore respectfully ask the Court to remand the current trial date of May

 21, 2024, from the Court’s docket, as well as all pre-trial conferences and related deadlines.

        Within 60 days, the parties will tender an agreed order of dismissal, or in the alternative,

 will tender a joint status report advising the Court of any final difficulties or obstacles in

 consummating the settlement agreement.

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                                               Respectfully submitted,




 /s/ Andrew Epstein
 Counsel for Plaintiff

 /s/ Kyle G. Bumgarner (with permission)
 Counsel for Defendants

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